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                     IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

 In re                                                    Chapter 7
 LIVE WELL FINANCIAL, INC.,                               Case No. 19-11317 ( LSS)
                Debtor.

 DAVID W. CARICKHOFF, as Chapter 7
                                                          Adv. Pro No. 21-50990 (LSS)
 Trustee of LIVE WELL FINANCIAL, INC.,
                Plaintiff,
 v.
 STUART H. CANTOR, JAMES P. KARIDES,
 BRETT J. ROME, LWFVEST, LLC, NORTH HILL
 VENTURES II, LP, FIVE ELMS EQUITY FUND I,
 L.P., FIVE ELMS HAAKON, L.P., FIVE ELMS
 COINVEST, L.P., JAMES BROWN, GANTCHER
 FAMILY LIMITED PARTNERSHIP, ERIC
 LEGOFF, and TITLE WORKS OF VIRGINIA, INC.,
 and JOHN DOES 1–10,
                Defendants.

              STUART H. CANTOR’S MOTION TO DISMISS COMPLAINT

         Stuart H. Cantor (the “Defendant”), by and through his undersigned counsel, pursuant to

Rule 12(b)(6) of the Federal Rules of Civil Procedure, made applicable to the above-captioned

adversary proceeding pursuant to Rule 7012(b) of the Federal Rules of Bankruptcy Procedure,

hereby moves for an order dismissing the complaint against Defendant commencing the above-

captioned adversary proceeding (the “Complaint”) because the Complaint fails to state a claim

upon which relief can be granted.

         In support, Defendant relies upon and incorporates the contemporaneously filed

Memorandum of Law in Support of Stuart H. Cantor’s Motion to Dismiss Complaint (the

“Memorandum of Law”).
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       Pursuant to Rule 7012-1 of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of Delaware, Defendant does not consent to the

entry of final orders or judgments by the Court if it is determined that the Court, absent consent

of the parties, cannot enter final orders or judgments consistent with Article III of the United

States Constitution.

       WHEREFORE, for the reasons set forth in the Memorandum of Law, Defendant

respectfully requests that this Court enter an order, substantially in the form attached hereto, that

dismisses all counts in the Complaint against Defendant with prejudice, and grants Defendant

such additional and further relief as the Court may deem just and proper.


Dated: September 9, 2021
                                             /s/ Robert J. Stearn, Jr.
Wilmington, Delaware
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                                           Cory D. Kandestin (No. 5025)
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                                           -and-
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                                           Counsel to Stuart H. Cantor




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